Case 8:16-cv-02257-CJC-DFM Document 329 Filed 04/02/19 Page 1 of 4 Page ID #:11077




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8                              UNITED STATES DISTRICT COURT
9                          CENTRAL DISTRICT OF CALIFORNIA
10                                   SOUTHERN DIVISION
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                                                 )
12                                               )     Case No.: SACV 16-02257-CJC(DFMx)
                                                 )
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     SECURITIES AND EXCHANGE                     )
                                                 )
14   COMMISSION,                                 )
                                                 )
15                                               )     ORDER GRANTING RECEIVER’S
                  Plaintiff,                     )     MOTION FOR APPROVAL OF
16                                               )     SETTLEMENT AGREEMENT WITH
           v.                                    )     MARILY THOMASSEN, MARILYN
17                                               )     THOMASSEN & ASSOCIATES, P.C.,
                                                 )     M. THOMASSEN & ASSOCIATES,
18   EMILIO FRANCISCO, et al.,                   )     P.C., AND AMERICAN
                                                 )     IMMIGRATION LAW CENTER
19                                               )     [Dkt. 327]
                  Defendants.                    )
20                                               )
                                                 )
21                                               )
                                                 )
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24   I. INTRODUCTION & BACKGROUND
25

26         On December 27, 2016, the SEC filed this enforcement action, alleging that Emilio
27   Francisco and a number of entities (“the Receivership Entities”) engaged in a fraudulent
28   scheme to defraud at least 131 investors out of at least $9.5 million. (Dkt. 1.) On

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Case 8:16-cv-02257-CJC-DFM Document 329 Filed 04/02/19 Page 2 of 4 Page ID #:11078




1    January 23, 2017, in its preliminary injunction order, the Court appointed Thomas A.
2    Seaman (“the Receiver”) as the receiver of the Receivership Entities. (Dkt. 36.) The
3    Receiver promptly took control over the Receivership Entities and commenced an
4    investigation to locate, secure, and preserve the value of the Receivership Entities’ assets.
5    (Dkt. 327-1 [Declaration of Thomas A. Seaman, hereinafter “Seaman Decl.”] ¶ 3.)
6    Through this investigation, the Receiver discovered that Marilyn Thomassen, Marilyn
7    Thomassen & Associates, P.C., M. Thomassen & Associates, P.C., and the American
8    Immigration Law Center (collectively, “Defendants”) served as escrow agents for the
9    Receivership Entities’ offerings. In these offerings, Defendants allegedly blindly
10   followed Francisco’s instructions and allegedly aided the fraudulent scheme by
11   commingling investor funds. (Id. ¶ 4.)
12

13          After receiving court approval, the Receiver filed an action against Defendants on
14   March 1, 2018. (See Thomas A. Seaman v. Marilyn Thomassen et al., No. 8:18-cv-
15   00349-CJC-DFM (C.D. Cal.) [hereinafter “Thomassen Action”], Dkt. 1 [Complaint].) In
16   the Thomassen Action, the Receiver alleges causes of action for breach of escrow
17   agreements, breach of fiduciary duty, and aiding and abetting securities fraud.
18   (Thomassen Action, Dkt. 17 [First Amended Complaint].) The Receiver has since
19   engaged in extensive settlement discussions with Defendants, and has agreed to accept a
20   total of $45,000 in satisfaction of Defendants’ obligations to the receivership estate.
21   (Seamen Decl. ¶ 7; id. Ex. A.) Before the Court is the Receiver’s unopposed motion for
22   approval of the settlement agreement with Marilyn Thomassen, Marilyn Thomassen &
23   Associates, P.C., M. Thomassen & Associates, P.C., and American Immigration Law
24   Center. (Dkt. 327 [hereinafter “Mot.”].) For the following reasons, the motion is
25   GRANTED. 1
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       Having read and considered the papers presented by the parties, the Court finds this matter appropriate
28   for disposition without a hearing. See Fed. R. Civ. P. 78; Local Rule 7-15. Accordingly, the hearing set
     for April 15, 2019 at 1:30 p.m. is hereby vacated and off calendar.
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Case 8:16-cv-02257-CJC-DFM Document 329 Filed 04/02/19 Page 3 of 4 Page ID #:11079




1    II. ANALYSIS
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3          A federal equity receiver’s power to compromise claims is subject to court
4    approval. See SEC v. Hardy, 803 F.2d 1034, 1037 (9th Cir. 1986) (“[I]t is a recognized
5    principle of law that the district court has broad powers and wide discretion to determine
6    the appropriate relief in an equity receivership.” (quoting SEC v. Lincoln Thrift Ass’n,
7    577 F.2d 600, 606 (9th Cir. 1978))). Federal courts of equity often look to bankruptcy
8    law for guidance in the administration of receivership estates. See SEC v. Capital
9    Consultants, LLC, 397 F.3d 733, 745 (9th Cir. 2005). A bankruptcy court may approve a
10   compromise of claims asserted by or against the estate only if the compromise is “fair
11   and equitable.” Woodson v. Fireman’s Fund Ins. Co. (In re Woodson), 839 F.2d 610, 620
12   (9th Cir. 1988). In determining the fairness, reasonableness, and adequacy of a proposed
13   settlement agreement, the court must consider: “(a) [t]he probability of success in the
14   litigation; (b) the difficulties, if any, to be encountered in the matter of collection; (c) the
15   complexity of the litigation involved, and the expense, inconvenience and delay
16   necessarily attending it, (d) the paramount interest of the creditors and a proper deference
17   to their reasonable views in the premises.” Id. (quoting In re A&C Props., 784 F.2d
18   1377, 1381 (9th Cir. 1986)).
19

20         The Receiver here seeks approval of the proposed Settlement Agreement and
21   Release of All Claims (“Settlement Agreement”) with the following terms:
22

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           1.     Defendants will pay $45,000 to the Receiver via a single check from
                  Defendants’ insurer.
24         2.     Defendants will release all claims against the Receiver, the Receiver’s
25
                  company, the receivership estate, and the Receivership Entities.
           3.     The Receiver will release all claims against Defendants.
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27   (Seaman Decl. Ex. A.)
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Case 8:16-cv-02257-CJC-DFM Document 329 Filed 04/02/19 Page 4 of 4 Page ID #:11080




1          The Court finds that the proposed Settlement Agreement is fair and equitable. The
2    sum of $45,000 represents the entire amount of insurance proceeds available to
3    Defendants to settle the Thomassen Action. (Id. ¶ 8.) Defendants’ insurance coverage
4    was terminated in a separate lawsuit after Defendants’ insurance provided the Receiver
5    with the check for $45,000 on February 26, 2019. (Id.) Although the Receiver believes
6    the receivership estate’s claims against Defendants are meritorious, continued litigation
7    would be expensive and time consuming. (Id. ¶ 9.) In addition, Defendants’ financial
8    disclosures and absence of any insurance proceeds indicate that they would only be able
9    to satisfy a fraction of any judgment. (Id.) And the additional expense and delay in
10   continuing to litigate this action would likely reduce the receivership estate’s net recovery
11   from Defendants. Accordingly, the Settlement Agreement is APPROVED.
12

13   III. CONCLUSION
14

15         For the foregoing reasons, the Receiver’s motion for approval of the settlement
16   agreement with Marilyn Thomassen, Marilyn Thomassen & Associates, P.C., M.
17   Thomassen & Associates, P.C., and American Immigration Law Center is GRANTED.
18   The Settlement Agreement, attached to the Declaration of Thomas A. Seaman as Exhibit
19   A (Dkt. 327-1), is APPROVED.
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23         DATED:       April 2, 2019
24                                                 __________________________________
25                                                        CORMAC J. CARNEY
26                                                 UNITED STATES DISTRICT JUDGE
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